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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

UNITED STATES OF AMERICA §

| §
Vv. § Criminal Action No. 3:16-CR-536-L

§

ALFREDO NAVARRO HINOJOSA; §

MIGUEL CASAS; §

MARTIN SALVADOR RODRIGUEZ; §

and CESAR MENDEZ, §

Verdict of the Jury

We, members of the jury, find Defendant Alfredo Navarro Hinojosa:
Unable +6 ceach
EN aonceement of the offense charged in Count One of the Superseding Indictment
“Guilty” or “Not Guilty” —_ (“Indictment’’);
Unable te ceach
an A2dgteement of the offense charged in Count Two of the Indictment;
“Guilty” or “Not Guilty”
Unable ts coach
fn Boceemenk of the offense charged in Count Three of the Indictment;
“Guilty” or “Not Guilty”
Unalyie te fearch
On agreement of the offense charged in Count Four of the Indictment;
“Guilty” or “Not Guilty”
Unalole te reach
an aoarcecment of the offense charged in Count Five of the Indictment;
“Guilty” or “Not Guilty”
Unarlle te ceath
AN RAsedMent of the offense charged in Count Six of the Indictment;
“Guilty” or “Not Guilty”
Unable to coach
On  amac6eemen of the offense charged in Count Seven of the Indictment;
“Guilty” or “Not Guilty”
Unable +o teach
GN Boree Meax of the offense charged in Count Eight of the Indictment;
“Guilty” or “Not Guilty”
Gnalle to reach
ON Borcoment of the offense charged in Count Ten of the Indictment;
“Guilty” or “Not Guilty”
Unalyle te coach
QA _garo@men of the offense charged in Count Eleven of the Indictment;
“Guilty” or “Not Guilty”

 

 

 

 

 

 

 

 

 

 

Verdict of the Jury — Page 1

 
 

 

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Unotole te Coach

AN aoreemeNt of the offense charged in Count Thirteen of the Indictment;
“Guilty” or “Not Guilty”

Unebic fo (ean

an paceecien of the offense charged in Count Fourteen of the Indictment;
“Guilty” or “Not Guilty”

Baaole fe Coach

aN RoaCcoMmenT of the offense charged in Count Fifteen of the Indictment;
“Guilty” or “Not Guilty”

Unolsle +. ceark

An goceamerAk of the offense charged in Count Sixteen of the Indictment;
“Guilty” or “Not Guilty”

Unatle te ceach

an aareemen of the offense charged in Count Seventeen of the Indictment;
“Guilty” or “Not Guilty”

Unalrt< +6 ceach

On RORCIER ONE of the offense charged in Count Eighteen of the Indictment;
“Guilty” or “Not Guilty”

 

 

 

 

 

 

(ow l ty of the offense charged in Count Nineteen of the Indictment;
“Guilty” or “Not Guilty”

 

bw Lty of the offense charged in Count Twenty of the Indictment;
“Guilty” or “Not Guilty”
Unolle + ceach
dyn LAKHEEME AT of the offense charged in Count Twenty-One of the Indictment;
“Guilty® or “Not Guilty”

 

 

(or: key of the offense charged in Count Twenty-Five of the Indictment;
“Guilty” or “Not Guilty”

 

With respect to Count Twenty-Five, if you answered “Guilty,” what did you find by proof
beyond a reasonable doubt was the amount of the mixture or substance containing a
detectable amount of cocaine? Please check one of the blanks below.

V Five kilograms or more.

At least five hundred grams but less than five kilograms.

Less than five hundred grams.

Verdict of the Jury — Page 2
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We, members of the jury, find Defendant Miguel Casas:

Oaoole 4 coach

WN DOLCE MANX
“Guilty” or “Not Guilty”

Unolb\e to ceacw

an agcee Mme AX

 

“Guilty” or “Not Guilty”
Unalols te (encw
On aoreemet
“Guilty” or “Not Guilty”
Vawole to Ceach
on aoatrermeny
“Guilty” or “Not Guilty”
Uaolvle to Coach
AN agteemon
“Guilty’*or “Not Guilty”
Unalale +0 Coach
On poreemenk

 

“Guilty” or “Not Guilty”
Unelole to crear
aN Aateem eat

 

“Guilty” or “Not Guilty”
Unolele to reach

OV AGteoment
“Guilty” or “Not Guilty”
Unor\e ts reach

WM KLoareemoary
“Guilty” or “Not Guilty”
Vaalole te Ceach

On Aaceemerat

 

“Guilty” or “Not Guilty”
Unable ts Ceack
an aaceament
“Guilty” or “Not Guilty”
Daable +. conch
WA @accamen’k
“Guilty” or “Not Guilty”
Unalo\o to seach
GUN _ LOACeo AN ees
“Guilty” dr “Not Guilty”
Unwle'e do coach
On GAArvree Mme we

“Guilty” Br “Not Guilty”

(uilly

 

“Guilty” or “Nét Guilty”

Verdict of the Jury — Page 3

 

of the offense charged in Count One of the Indictment;

of the offense charged in Count Two of the Indictment;

of the offense charged in Count Three of the Indictment;

of the offense charged in Count Four of the Indictment;

of the offense charged in Count Five of the Indictment;

of the offense charged in Count Six of the Indictment;

of the offense charged in Count Seven of the Indictment;
of the offense charged in Count Eight of the Indictment;

of the offense charged in Count Ten of the Indictment;

of the offense charged in Count Fourteen of the Indictment;
of the offense charged in Count Fifteen of the Indictment;
of the offense charged in Count Sixteen of the Indictment;
of the offense charged in Count Seventeen of the Indictment;
of the offense charged in Count Bipniesn of the Indictment;

of the offense charged in Count Nineteen of the Indictment;
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Guilky of the offense charged in Count Twenty of the Indictment;
“Guilty” or “Not Guilty”

 

Cu \ty of the offense charged in Count Twenty-Five of the Indictment;
“Guilty” or “Not Guilty”

 

With respect to Count Twenty-Five, if you answered “Guilty,” what did you find by proof
beyond a reasonable doubt was the amount of the mixture or substance containing a
detectable amount of cocaine? Please check one of the blanks below.

\/ Five kilograms or more.

At least five hundred grams but less than five kilograms.

Less than five hundred grams.

Verdict of the Jury — Page 4

 
 

 

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We, members of the jury, find Defendant Martin Salvador Rodriguez:

Unable +5 coal

On porzemen
“Guilty” or “Not Guilty”

Uroble tp cea

Oy Arreamen®
“Guilty” or “Not Guilty”

Unable te (earn

A) pancee me Xe
“Guilty’*br “Not Guilty”

Uneoie de teacln

ON Rarcee MEA’
“Guilty” or “Not Guilty”

Une e re acn

AN amceeM ent
“Guilty” or “Not Guilty”

Unwds\c de tenc

AN Aoacegment

“Guilty” or “Not Guilty”

Unolsle 4s teach

AWN AOLECOMEAX

 

“Guilty” or “Not Guilty”
Unable to teach
QA Ghveamen
“Guilty” or “Not Guilty”
Unable te leach
On Baccomen

“Guilty”*or “Not Guilty”
Unal\e te ceach

OA AacegmMeryt
“Guilty” or “Not Guilty”
Vooe\y +e ceach
aN Bbtoomeat
“Guilty” or “Not Guilty”
Uoaals \e te C each
Qn BAareemepnr

 

“Guilty™or “Not Guilty”
Unable te teach
A Gate tment
“Guilty” or “Not Guilty”
Unnls\e te reach

AN As tee. menX
“Guilty” dr “Not Guilty”

Ouilky

 

“Guilty” or “Not Guilty”

Verdict of the Jury — Page 5

of the offense charged in Count One of the Indictment;

of the offense charged in Count Two of the Indictment;

of the offense charged in Count Three of the Indictment;

of the offense charged in Count Four of the Indictment;

of the offense charged in Count Five of the Indictment;

of the offense charged in Count Six of the Indictment;

of the offense charged in Count Seven of the Indictment;

of the offense charged in Count Eight of the Indictment;

of the offense charged in Count Ten of the Indictment;

of the offense charged in Count Fourteen of the Indictment;

of the offense charged in Count Fifteen of the Indictment;

of the offense charged in Count Sixteen of the Indictment;

of the offense charged in Count Seventeen of the Indictment;

of the offense charged in Count Eighteen of the Indictment;

of the offense charged in Count Nineteen of the Indictment;
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O uo of the offense charged in Count Twenty of the Indictment;
“Guilty” or “Not Guilty”

 

(oui of the offense charged in Count Twenty-Five of the Indictment;
“Guilty” or “Not Guilty”

 

With respect to Count Twenty-Five, if you answered “Guilty,” what did you find by proof
beyond a reasonable doubt was the amount of the mixture or substance containing a
detectable amount of cocaine? Please check one of the blanks below.

of Five kilograms or more.

At least five hundred grams but less than five kilograms.

Less than five hundred grams.

Verdict of the Jury — Page 6

 
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We, members of the jury, find Defendant Cesar Mendez:

(ui by of the offense charged in Count Twenty-Five of the Indictment;
“Guilty” or “Not Guilty”

 

With respect to Count Twenty-Five, if you answered “Guilty,” what did you find by proof
beyond a reasonable doubt was the amount of the mixture or substance containing a
detectable amount of cocaine? Please check one of the blanks below.

VU Five kilograms or more.

At least five hundred grams but less than five kilograms.

Less than five hundred grams.

(ay [ry of the offense charged in Count Thirty-One of the Indictment;
“Guilty” or “Not Guilty”

 

(ay ln of the offense charged in Count Thirty-Two of the Indictment;
“Guilty” or “Not Guilty”

 

 

i | th
Sioned this “1 — day of November , 2021.

So” - 2E s
_Nywl Gued
/

Presiding Juror

Verdict of the Jury — Page 7
